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 4   Attorney for Defendant
     JIMMIE PERRYMAN
 5
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:08-CR-0197 GEB
11                                 Plaintiff,           STIPULATION AND [PROPOSED]
                                                        ORDER TO CONTINUE STATUS
12          vs.                                         CONFERENCE, AND TO EXCLUDE
                                                        TIME PURSUANT TO THE SPEEDY
13   MICHAEL CRAIG DENNIS, et al.,                      TRIAL ACT
14                                 Defendants.
15
16           IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Todd D. Leras, Assistant United States Attorney, attorney for plaintiff; and
18   Michael E. Hansen, attorney for defendant Jimmie Perryman, that the previously-scheduled
19   status conference date of May 6, 2011, be vacated and the matter set for status conference on
20   June 17, 2011.
21           This continuance is requested to allow counsel additional time to review outstanding
22   discovery that has yet to be received.
23          Accordingly, counsel and the defendants agree that time under the Speedy Trial Act
24   from the date this stipulation is lodged, through June 17, 2011, should be excluded in
25   computing time within which trial must commence under the Speedy Trial Act, pursuant to
26   / / / / /
27   / / / / /
28   / / / / /


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     Stipulation and [Proposed] Order to Continue Status Conference
                            Case 2:08-cr-00197-KJM Document 73 Filed 05/05/11 Page 2 of 2


 1   Title 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and Local Code T4 [reasonable time for defense
 2   counsel to prepare].
 3   Dated: May 3, 2011                                          Respectfully submitted,
 4
                                                                 /s/ Michael E. Hansen
 5                                                               MICHAEL E. HANSEN
                                                                 Attorney for Defendant
 6                                                               JIMMIE PERRYMAN
 7   Dated: May 3, 2011                                          U.S. ATTORNEY’S OFFICE
 8
                                                                 By: /s/ Michael E. Hansen for
 9                                                               TODD LERAS
                                                                 Assistant U.S. Attorney
10                                                               Attorney for Plaintiff
11
12
                                                         ORDER
13
                           IT IS HEREBY ORDERED that the previously-scheduled status conference date of
14
     May 6, 2011, be vacated and the matter set for status conference on June 17, 2011. Time is
15
     excluded in the interests of justice pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and
16
     Local Code T4.
17
     Date: 5/5/2011
18
19
                                                                  _________________________
20
                                                                  GARLAND E. BURRELL, JR.
21                                                                United States District Judge
     DEAC_Signature-END:




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     Stipulation and [Proposed] Order to Continue Status Conference
